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Piaintirr, wgrj .:-iii J¢CKSON
v. cr. No. 05-10034-T/An

LEA|V|ON MATLOCK.

Defendant.

 

ORDER ON ARRA|GN|V|ENT

 

This cause came to be heard on April 27, 2005. The Assistant United States Attorney
appeared on behalf of the governmentl and the defendant appeared in person and with the
following counsei, who is appointed:

NAN|E: Dlanne Smothers, Asst. Federal Defender
ADDRESS:

TELEPHONE:

The defendant, through oounsel, waived formal arraignment and entered a plea of not
guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

The defendant, being held without bond pursuant to BRA of 1984, is remanded to the

custody of the U.S. lVlarshal.
;§”;'EM@

s. THOMAS ANDERsoN
United States l\/|agistrate Judge

Charges: controlled substance, sell, distribute or dispense; unlawful transport of firearms
Assistant U.S. Attorney assigned to case: Scott

Rule 32 Was not waived

This document entered on the docket sheet in compliance
with Rule 55 and/or 32(b) FRCrP on (_/f l q l 0 5 \ \

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 11 in
case 1:05-CR-10034 Was distributed by faX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

Angela R. Scott

State Attorney General's Oftice
P.O. Box 2825

Jackson, TN 38302

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
109 S. Highland Ave.

Ste. B-S

Jackson, TN 38301

Honorable J ames Todd
US DISTRICT COURT

